Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 1 of 81 Page ID
                                 #:119266
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 2 of 81 Page ID
                                 #:119267
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 3 of 81 Page ID
                                 #:119268
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 4 of 81 Page ID
                                 #:119269
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 5 of 81 Page ID
                                 #:119270
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 6 of 81 Page ID
                                 #:119271
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 7 of 81 Page ID
                                 #:119272
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 8 of 81 Page ID
                                 #:119273
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 9 of 81 Page ID
                                 #:119274
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 10 of 81 Page ID
                                 #:119275
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 11 of 81 Page ID
                                 #:119276
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 12 of 81 Page ID
                                 #:119277
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 13 of 81 Page ID
                                 #:119278
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 14 of 81 Page ID
                                 #:119279
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 15 of 81 Page ID
                                 #:119280
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 16 of 81 Page ID
                                 #:119281
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 17 of 81 Page ID
                                 #:119282
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 18 of 81 Page ID
                                 #:119283
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 19 of 81 Page ID
                                 #:119284
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 20 of 81 Page ID
                                 #:119285
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 21 of 81 Page ID
                                 #:119286
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 22 of 81 Page ID
                                 #:119287
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 23 of 81 Page ID
                                 #:119288
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 24 of 81 Page ID
                                 #:119289
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 25 of 81 Page ID
                                 #:119290
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 26 of 81 Page ID
                                 #:119291
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 27 of 81 Page ID
                                 #:119292
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 28 of 81 Page ID
                                 #:119293
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 29 of 81 Page ID
                                 #:119294
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 30 of 81 Page ID
                                 #:119295
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 31 of 81 Page ID
                                 #:119296
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 32 of 81 Page ID
                                 #:119297
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 33 of 81 Page ID
                                 #:119298
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 34 of 81 Page ID
                                 #:119299
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 35 of 81 Page ID
                                 #:119300
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 36 of 81 Page ID
                                 #:119301
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 37 of 81 Page ID
                                 #:119302
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 38 of 81 Page ID
                                 #:119303
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 39 of 81 Page ID
                                 #:119304
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 40 of 81 Page ID
                                 #:119305
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 41 of 81 Page ID
                                 #:119306
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 42 of 81 Page ID
                                 #:119307
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 43 of 81 Page ID
                                 #:119308
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 44 of 81 Page ID
                                 #:119309
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 45 of 81 Page ID
                                 #:119310
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 46 of 81 Page ID
                                 #:119311
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 47 of 81 Page ID
                                 #:119312
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 48 of 81 Page ID
                                 #:119313
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 49 of 81 Page ID
                                 #:119314
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 50 of 81 Page ID
                                 #:119315
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 51 of 81 Page ID
                                 #:119316
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 52 of 81 Page ID
                                 #:119317
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 53 of 81 Page ID
                                 #:119318
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 54 of 81 Page ID
                                 #:119319
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 55 of 81 Page ID
                                 #:119320
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 56 of 81 Page ID
                                 #:119321
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 57 of 81 Page ID
                                 #:119322
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 58 of 81 Page ID
                                 #:119323
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 59 of 81 Page ID
                                 #:119324
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 60 of 81 Page ID
                                 #:119325
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 61 of 81 Page ID
                                 #:119326
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 62 of 81 Page ID
                                 #:119327
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 63 of 81 Page ID
                                 #:119328
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 64 of 81 Page ID
                                 #:119329
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 65 of 81 Page ID
                                 #:119330
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 66 of 81 Page ID
                                 #:119331
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 67 of 81 Page ID
                                 #:119332
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 68 of 81 Page ID
                                 #:119333
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 69 of 81 Page ID
                                 #:119334
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 70 of 81 Page ID
                                 #:119335
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 71 of 81 Page ID
                                 #:119336
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 72 of 81 Page ID
                                 #:119337
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 73 of 81 Page ID
                                 #:119338
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 74 of 81 Page ID
                                 #:119339
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 75 of 81 Page ID
                                 #:119340
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 76 of 81 Page ID
                                 #:119341
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 77 of 81 Page ID
                                 #:119342
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 78 of 81 Page ID
                                 #:119343
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 79 of 81 Page ID
                                 #:119344
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 80 of 81 Page ID
                                 #:119345
Case 2:04-cv-09049-DOC-RNB Document 4374-5 Filed 10/20/08 Page 81 of 81 Page ID
                                 #:119346
